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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


IN RE:
                                                             CASE NO. 10-39669
BRETT LEE WHALEY                                             CHAPTER 7 BANKRUPTCY
CHRISTAL DAWN WHALEY
                          DEBTORS
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BRETT LEE WHALEY
CHRISTAL DAWN WHALEY
               PLAINTIFFS

V.                                                           ADV. NO. 11-03036

KELSEY-SEYBOLD MEDICAL GROUP,
PLLC , D/B/A KELSEY-SEYBOLD CLINIC
                 DEFENDANT



     Notice of Voluntary Dismissal of Adversary Proceeding
                         With Prejudice

         Plaintiffs, pursuant to Fed. R. Bank. P. Rule 7041, file this Notice of

Voluntary Dismissal of Adversary Proceeding with prejudice. No answer or

motion for summary judgment has been filed by any adverse party duly

served herein.

                                                Respectfully submitted,

                                                /s/ Charles (Chuck) Newton
                                                ____________________________________
                                                CHARLES (CHUCK) NEWTON
                                                Texas Bar No. 14976250
                                                CHARLES NEWTON & ASSOCIATES
                                                190 N. Millport Circle
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                                      Attorney For The Plaintiffs,
                                      Mr. and Mrs. Whaley




                              CERTIFICATE OF SERVICE

      I certify that I caused the above Notice of Voluntary Dismissal to be
served on those stated below by electronic means, if possible, otherwise by
the means stated below.

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DATED: March 23, 2011

                                            /s/ Charles (Chuck) Newton
                                            _______________________________
                                            CHARLES (CHUCK) NEWTON




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